                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:12-cr-22
v.                                                     )
                                                       )       MATTICE / LEE
RANDALL ALLEN                                          )


                                             ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count

Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

One, that is of conspiracy to manufacture and distribute five (5) grams or more of methamphetamine

(actual) or fifty (50) grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

One of the Indictment, that is of conspiracy to manufacture and distribute five (5) grams or more of

methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

§§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 49].

Neither party filed a timely objection to the report and recommendation. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 49] pursuant

to 28 U.S.C. § 636(b)(1) and ORDERS as follows:




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      (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

            is GRANTED;

      (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

            that is of conspiracy to manufacture and distribute five (5) grams or more of

            methamphetamine (actual) or fifty (50) grams or more of a mixture and substance

            containing a detectable amount of methamphetamine, a Schedule II controlled

            substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

            more of methamphetamine (actual) or fifty (50) grams or more of a mixture and

            substance containing a detectable amount of methamphetamine, a Schedule II

            controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, October 1, 2012 at 9:00 a.m. before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE


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